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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                       CASE NO. 13-24116 (ALTONAGA)

  MARIA ORTIZ,

             Plaintiff,



  v.



  HARD ROCK CAFÉ INTERNATIONAL
  (USA), INC. d/b/a Hard Rock Hotel & Casino
  Punta Cana,

        Defendant.
  _______________________________________/


                   PLAINTIFF'S RESPONSE IN OPPOSITION TO DEFENDANT'S
                                   MOTION TO DISMISS1

             Plaintiff, Maria Ortiz, files this Response in Opposition to Defendant's Motion to Dismiss

  and further states as follows:

        1. On December 26, 2013, Defendant, Hard Rock Cafe International (USA), Inc. d/b/a Hard

             Rock Hotel & Casino Punta Cana ("Hard Rock" or "Defendant") filed a Motion to

             Dismiss [D.E. 12] on two grounds: 1) forum non conveniens ("fnc"); and 2) Failure to

             Join Indispensible Party.

        2. The crux of Hard Rock's motion is that 1) the Dominican Republic is an adequate

             alternate forum; 2) the private interest factors weigh in favor of dismissal; 3) the public

             interest factors weigh in favor of dismissal; and 4) Inversiones Zahena S.A., a mexican



  1
      Plaintiff respectfully requests oral argument pursuant to Local Rule 7.1(b) on Defendant's Motion to Dismiss.

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         corporation is an indispensible party to this litigation. Defendant's motion has no merit

         and should be denied.

   FORUM NON CONVENIENS: DEFENDANTS HAVE FAILED TO OVERCOME THEIR
                 BURDEN FOR DISMISSAL OF THIS ACTION

         “The doctrine of forum non conveniens permits a court with venue to decline to exercise

  its jurisdiction when the parties’ and court’s own convenience, as well as the relevant public and

  private interest, indicate that the action should be tried in a different forum.” Pierre Louis v.

  Newvac Corp. 584 F.3d 1052, 1056 (11th Cir. 2009).

         In the Eleventh Circuit however, for a defendant to succeed in dismissal of an action for

  forum non conveniens, a party must present “positive evidence of unusually extreme

  circumstances and material injustice” before a court can exercise their discretion in dismissing a

  case. SME Racks, Inc. v. Sistemas Mecanicas Para Electronica, S.A., 382 F.3d 1097, 1101 (11th

  Cir. 2004).

         At the outset, Hard Rock has failed to address this standard. While Defendant refers to

  SME Racks in passing, it does not address the high burden it must overcome before this case is

  dismissed.    Since Defendant has not presented positive evidence of unusually extreme

  circumstances or manifest injustice, their motion must be denied. Further Defendants have

  engaged in discovery on the merits of this case, which not only waives their argument that this is

  an inconvenient forum but also shows why this case cannot be dismissed. Defendants have

  misstated their burden as showing that the chosen forum would be "unnecessarily burdensome

  for the defendant or the court."       In the Eleventh Circuit, the plaintiff enjoys a "strong

  presumption" of correctness when that plaintiff is a United States citizen as is the case here.

         This heavy burden reflects two important principles. First, dismissing a case in favor of a

  foreign forum implicates the federal courts’ “‘virtual unflagging obligation to exercise the

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  jurisdiction conferred upon them.’” Turner Entertainment Co. v. Degeto Film GmbH, 25 F.3d

  1512, 1518 (11th Cir. 1994) (quoting Colorado River Water Conservation Dist. v. United States,

  424 U.S. 800, 817 (1976)). Second, when a plaintiff satisfies the requisites of jurisdiction and

  venue, in all but the most extreme circumstances, he is entitled to choose his forum, and his

  choice “should rarely be disturbed ‘unless the balance is strongly in favor of the defendant’”

  SME Racks, 382 F.3d. at 1101.

  A. Recent Decisions and Proper Balancing of Interests

         In a case involving a wrongful death in the Bahamas, the court reasoned: “[D]efendants

  have not met their burden in showing why the allegedly treacherous conditions could not be

  shown through photographs, video…testimony of hotel employees.” Collins v. Marriott Int’l

  Inc., Case No. 09-22423 (JORDAN) D.E. 57 at 3. Similarly here, the area where Mr. Wagner

  was attacked could be shown through photographs, videos and testimony.                Defendants

  themselves have provided a building drawing and photographs showing the area. “I do not

  weigh heavily the defendants’ contention that witnesses whose knowledge is limited solely to the

  recovery of Mr. Knowlton’s body must be available to testify at trial about the conditions [of the

  property in question.]” Collins, Case No. 09-22423 (JORDAN) [D.E. 57] at pp. 4-6. In this

  case, Defendants have identified five potential witnesses to this action including Mr. De Groot.

  See Aff. of G. De Groot. [D.E. 12-4]. Mr. De Groot testifies that along with himself who

  conducted an investigation, there are four potential witnesses. Mr. Montas is still employed by

  the resort and therefore can be compelled to testify. The same can be said of Mr. De Groot. The

  remaining witnesses, Mr. Feliz, Mr. Martinez and Dr. Luna are arguably under the Resort's

  control. Mr. Feliz and Mr. Martinez can be located by the Resort according to Mr. Groot and

  therefore can be deposed at a time and place convenient to them. Nothing in the affidavit of Mr.



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  Groot indicates that these witnesses who are no longer employed will not cooperate with the

  resort. Further, it is unclear what if any value Dr. Luna's testimony will have to Hard Rock's

  defense of this lawsuit. In any event, Plaintiff can stipulate that she declined medical care from

  Dr. Luna which given the cumulative nature of Dr. Luna's testimony obviates the need to depose

  her.

          The Court in Collins went on point out that all documentary evidence can be copied and

  transported here, to the Sourthern District. Id. at 4. As in Collins, the Hard Rock is a Florida

  corporation doing extensive business in the United States. “Most of the witnesses listed are

  employees of the hotel and therefore ‘under the defendant’s control’ and can easily travel to

  Miami.” Id. “Defendants have not met their burden in showing manifest injustice.” Id. at 6.

          In a products liability and negligence context taking place in the Bahamas, this Court

  balanced the private and interests of a citizen of Arizona against Utah and Canadian defendants.

  After finding that when “weighed against one another, the balance tilts toward Defendants” the

  court goes on: “Nevertheless, Eleventh Circuit precedent is clear that when weighing private

  interest factors, the scales are not equally calibrated – the robust presumption in favor of a U.S.

  citizen is to be applied when balancing private interest factors.” Matthews v. Whitewater West

  Industries, et. al., Case No. 11-22424 (ALTONAGA) [D.E. 76] at pp. 18-19.

          “Under these circumstances a defendant must do more than just prove the private interest factors
          favor dismissal; rather he or she must prove that ‘unusually extreme circumstances’ are present
          and ‘thoroughly’ persuade the Court that ‘material injustice’ would result if it retained
          jurisdiction.”

          Id. at 19. See also, Klyszcz v. Cloward et. al., Case No. 11-23023 (COOKE) [D.E. 66]

  (denying a motion to dismiss against the same Utah and Canadian defendants against an Ohio

  plaintiff).




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          In the instant case, the Defendant is a Florida corporation. There is no manifest injustice

  and unusually extreme circumstance in defending a lawsuit in the very state and country which

  defendant is based.

          Further, Defendant has failed to identify what documentary evidence would need to

  translated. See M. Dismiss [D.E. 12] at pg. 8. In any case, the financial burden of translating

  any such documents would be borne by the Plaintiff and therefore would not be a hardship to the

  Hard Rock. Certainly finding a translator in the Southern District of Florida is not an unusually

  extreme circumstance that merits dismissal of this lawsuit.

          In a wrongful death action against Bahamian defendants, the court, in ruling against

  defendants reasoned: “Defendants have not listed any witnesses with any knowledge as to how

  the accident happened or the circumstances leading up to the accident who reside in the

  Bahamas.” Massa v. Kerzner Int’l Ltd. et. al., Case No. 11-60232 (DIMITROULEAS) [D.E. 29]

  at p. 15. In the instant case, Defendant has not listed a single witness who has any knowledge of

  the area in question prior to Ms. Ortiz's fall. Finally, Defendant has not listed a single witness to

  the accident itself.

          In another similar case, the court found that as in this case any record evidence was not

  proven to be “burdensome and could be transported to the District.” Marks v. Kerzner Int’l

  Bahamas Ltd., Case No. 12-22546 (MARTINEZ) [D.E. 35] at p. 5. Further, the court in Marks

  found that the majority of witnesses listed by defendants were under their control and thus could

  be transported here to the Southern District to testify. Id. at p. 6. Further, as here, no matter

  what forum is chosen there will be “some witnesses beyond the subpoena power of the court

  adjudicating the case.” Id. at 7. When balancing interests the courts in this district have

  recognized that the goal is not merely to trade inconveniences. See also, Black v. Kerzner Int’l



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  Holdings, Ltd, et. al., Case No. 12-60301 (DIMITROULEAS) [D.E. 64] (finding that although

  private and public interest are at or near equipoise, dismissal the presumption against disturbing

  a U.S. plaintiff’s chosen forum tilts balance in favor of the plaintiffs.); and unpublished Eleventh

  Circuit opinion, McLane v. Los Suenos Marriott Ocean and Golf Resort, et. al., Case No: 11-

  11860, DC Docket No 08-cv-20662 (reversing trial court for failing to apply strong presumption

  in the balancing of private interest factors).

          Recently, in a premises liability action, Wagner v. Island Romance Holidays Inc., Case

  No. 12-23928 (MORENO) (S.D. Fla. 2013), the court found that even though on balance the

  private factors weighed slightly in favor of dismissal, Defendants failed to show unusually

  extreme circumstances and manifest injustice. Further, Judge Moreno in Wagner considered the

  question of third-party impleading and held that even though Defendants could not implead a

  third party, the deference given to Plaintiff's choice in forum made this factor non-dispositive.

  "Nonetheless, given the deference the Court must give to the Plaintiff's choice of forum, this

  factor cannot determine dismissal of this case." Id. at 7-8.

          Also, in a food poisoning, products liability context, Howard v. Kerzner Int'l Ltd., Case

  No. 12-22184 (MORENO) (S.D. Fla. 2013), the court found that some third-parties are still

  subject to the control of defendants, the defendant did not meet their burden in showing why the

  necessary evidence could not be obtained via "letters rogatory or some similar procedure." The

  court in Howard also considered the inability to implead third parties and found that "defendants

  have not established that it would be unduly burdensome to pursue a separate indemnification

  action against any such third parties in the Bahamas." Id. at 13. In the instant case, and similar

  to the Wagner and Howard cases, Defendants have not shown why it would be unduly




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  burdensome to litigate this case here and pursue an indemnity action in the Dominican Republic

  if and when it becomes necessary.

         All eight decisions, attached as Composite Exhibit 1, provide the proper balancing,

  showing that when an analysis of private factors is being done, the scales are not equally

  calibrated, the defendant has to overcome the strong presumption in favor of the plaintiff’s

  choice of forum when that plaintiff is a United States citizen and that if even on balance the

  factors may tilt in favor of dismissal, there must be manifest injustice or unusually extreme

  circumstances that warrant dismissal.

         The Florida Supreme Court also recently re-established that the Federal standard for

  dismissal was also Florida’s standard. “As stated by the Eleventh Circuit, courts “should be

  thoroughly convinced that material injustice is manifest before . . . deny[ing] a United States

  citizen access to the courts of this country.” quoting SME Racks, 382 F.3d at 1101. See Cortez

  v. Palace Resorts, Inc., et. al. No. SC11-1908. (re-adopting the federal standard in SME Racks

  and holding that where negligent actions can be attributed to companies located in Florida which

  have a managerial and marketing headquarters here, defendants cannot argue a more convenient

  forum lies outside where they reside.) Here there is no question that the Hard Rock is present

  and conducts substantial business including marketing from its Florida headquarters.

         Defendant further relies on the Goldstein v. Hard Rock Cafe International (USA) Case,

  Inc., Case No. 12-148-Orl-18KRS (M.D. Fla. 2012) case, however, that case is distinguishable

  because there were additional defendants and other considerations related to those defendants.

  Further, the court in Goldstein failed to articulate the proper standard under SME Racks.




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  A. Adequacy of Dominican Republic as an Alternate Forum

         Plaintiffs do not contest the per se adequacy of the Dominican Republic as an adequate

  alternate forum. However, as will be described in the private and public interest factors, the fact

  that Defendant is amenable to process there is of no benefit to Ms. Ortiz because she would not

  financially be able to pursue a lawsuit in the Dominican Republic. See Aff. M. Ortiz (Exhibit 2)

  Defendant provides an affidavit from an attorney who practices in the Dominican Republic. See

  Aff. J. Ubiera [D.E. 12-3]. Mr. Ubiera states that there are fee agreements which allow the

  Plaintiff to pay fees and costs at the end of the trial. The affidavit is silent as to what occurs

  should Ms. Ortiz not prevail and whether the money owed by her in the form of costs can be

  collected by her attorney.

  B. Private Interest Factors Weigh Heavily Against Dismissal of this Action

         Private interest factors include: relative ease of access to sources of proof, access to

  unwilling and willing witnesses, ability to compel testimony, the possibility of the view of the

  premises, and the enforceability of judgment. Wilson v. Island Seas Investments, Ltd. 590 F.3d

  1264, 1270 (11th Cir. 2009) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947); Renta,

  530 F.3d at 1356.). “These factors are not exhaustive and the court should be flexible in

  applying them.” Id. (citing King v. Cessna Aircraft Co. 562 F.3d 1374, 1381-82 (11th Cir.

  2009)). In balancing the private interest factors, the Court must also account for the

  “‘strong presumption against disturbing [a plaintiff’s] initial forum choice.’” La Seguridad v.

  Transytur Line, 707 F.2d 1304, 1307 (11th Cir. 1983) (quoting Pain v. United Tech. Corp., 637

  F.2d 775, 784 (D.C. Cir. 1980) (alteration added)); see SME Racks, Inc. v. Sistemas Mecanicos

  Para Electronica, S.A., 382 F.3d 1097, 1102 (11th Cir. 2004) (noting that the presumption in

  favor of a plaintiff’s choice of forum “is to be applied specifically when weighing the private



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  interests.”) (citation omitted).

  i. Relative Ease of Access to Witnesses and Evidence2

           In support Hard Rock's Motion, Defendant has identified five possible witnesses.

  Plaintiff has also identified witnesses which are all located in the United States, including

  Plaintiff's daughter, and medical providers all of which are outside the subpoena power of

  Dominican Courts. See Aff. M. Ortiz.

           Defendants have not identified a single witness whose testimony is not only critical but

  unavailable if this case were litigated here in the Southern District. Further, even if not permitted

  for reasons outside of Defendant's control, any witness not able to travel could appear by video

  either live or previously recorded. The Defendants have the burden “as to all elements of the

  forum non conveniens analysis.” Lacey v. Cessna Aircraft Co., 862 F.2d 38, 43-44. Defendants

  have failed to prove how or why these witnesses are unavailable to travel to the United States or

  why they would be unable to have their witnesses testify live despite the witnesses not currently

  holding a visa. There is no evidence on the record concerning what, if anything, is preventing

  them from obtaining visas to travel here.

           “[T]he majority of witnesses who reside in the Bahamas are the defendants’ own agents

  and employees, who are under defendants’ control and will appear voluntarily.” Ward v. Kerzner

  Internat’l Hotels, 2005 WL 2456191 * 3 (S.D. Fla. March 30, 2005). The plaintiff will either

  produce or do without the evidence under her control, and the Hard Rock cannot claim an

  inability to secure evidence under their control.

  2
    Defendant references a "Project License Agreement by and between Hard Rock and Inversiones Zahena. See [D.E.
  12] at pg. 3 fn.6 Plaintiff has not had an opportunity to review the document and therefore objects to the introduction
  of the agreement as evidence. Defendant has agreed to produce the document once the Court enters a Stipulated
  Protective Order which was agreed to in principle by the parties on 01/27/14. The license agreement should have no
  bearing on the fnc analysis. Rather, the document is likely being presented in support of Defendant's argument that
  Inversiones Zahena is the proper party to the lawsuit. Plaintiff addresses this issue in her Response. In the event
  that the Court does consider the agreement, Plaintiff respectfully requests an opportunity to briefly conduct limited
  discovery regarding the agreement and its relevance to the issue of fnc if any.

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          Defendant asserts that there are no witnesses in the United States "regarding day to day

   maintenance operations and procedures in the Dominican Republic" with no evidentiary support.

   This is of no consequence because maintenance personnel who are employed by the resort can be

   compelled to testify. Defendant also asserts that there is no guarantee that third-party witnesses

   would agree to testify in Florida or be allowed to travel here. Defendant has provided no proof

   or evidence that third parties would not agree or that they would not be allowed to travel here. It

   stretches the imagination to think of a scenario where the Hard Rock would request a resort

   employee presence and that employee not comply. It is Hard Rock's burden to prove that these

   third-party witnesses testimony is necessary and they have not met their burden. Further, even

   assuming some third-party witnesses' testimony is needed, their depositions and testimony can be

   transmitted live to the United States.

          Modern technology has made many of the arguments regarding document production and

   live testimony moot. In the instant case Defendants have failed to articulate how live video

   testimony prejudices their defense.

          Defendant's reliance on Florida connections to the lawsuit is misplaced as it is well settled

   that the United States is the relevant forum when conducting an fnc analysis. "[T]he relevant

   forum for purposes of the federal [fomm non conveniens] analysis is the United States as a

   whole." Wilson v. Island Seas Investments, Ltd. 590 F.3d 1264 (11th Cir. 2009) citing Aldana,

   578 F.3d at 1293; Esfeld v. Costa Crociere, S.P.A., 289 F.3d 1300, 1303 (11th Cir. 2002)

   ("[F]ederal courts, in the forum non conveniens context, do not focus on the connection

   between the case and a particular state, but rather on the connection of the case to

   the United States as a whole.")




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   ii. A View of the Premises

          While vaguely alluded to, there is no showing by Hard Rock that the rules of court in the

   Dominican Republic would allow a jury (or trier of fact if there is no jury) to leave the courtroom

   and visit where Ms. Ortiz fell. Second, any argument that such a visit is necessary completely

   ignores modern technology, such as cameras, videos and computer simulations.

          In light of the foregoing it is dubious what if any value an onsite visit for the trier of fact

   would yield. In the case of experts, a site inspection, if necessary, could be arranged on a

   mutually agreed upon date and time.

   iii. Practical Considerations

          Despite Defendant's contention to the contrary, Inversiones Zahena is not a necessary

   party to these proceedings. Plaintiffs can proceed against Hard Rock and if a judgment is

   collected, Defendant may very well have a claim against Inversiones Zahena in the Dominican

   Republic. Such considerations are not dispositive unless Defendant can prove that not having

   Inversiones Zahena as a party to this action would be an unusually extreme circumstance or

   manifest injustice.

          “Courts considering inconvenience due to a defendant’s inability to implead have

   required a showing of active inconvenience, not mere hypothetical discussion regarding the

   efficiency of third-party practice.” Sun Trust 184 F. Supp.2d at 1265. In the instant case,

   Inversiones Zahena is according to Defendant, the "potential tortfeasor." Plaintiffs have also

   included a vicarious liability count which obviates the need to join Inversiones Zahena.

   Defendant has not met its burden in providing for more than a hypothetical discussion regarding

   third-party practice.




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           Finally, notwithstanding language in some decisions, a plaintiff is not required to choose

   the “best” forum for litigating a case, and the court’s task is not to pick the “best” forum for

   litigating the case. Plaintiffs are not required to “choose the optimal forum . . .,” Ravelo Monegro

   v. Rosa, 211 F.3d 509, 514 (9th Cir. 2000), cert. denied sub nom. San Francisco Baseball

   Associates, LP v. Ravelo Monegro, 531 U.S. 1112 (2001). Plaintiff still has a right to choose her

   forum. And “the plaintiff’s choice of forum rarely should be disturbed.” Del Monte Fresh

   Produce Co. v. Dole Food Co. Inc., 136 F. Supp. 2d 1271, 1276 (S.D. Fla. 2001).

           Also, the application of foreign law is not a consideration that weighs in favor of

   dismissal. First, Defendant proposes that Dominican law applies without the Court ever having

   conducted a complete choice of law analysis. Plaintiff does not concede that Dominican law

   applies. In the instant case, there appears on the face of Defendant's motion to be a "false

   conflict" meaning that while the law of the Dominican Republic may be different, the result ie.

   the granting of damages for medical expenses and pain and suffering or not, remain the same.

           "A 'false conflict' exists when the 'laws of different states are 1) the same, 2) different but

   would produce the same result, or 3) when the policies of one state would be furthered by the

   application of its laws while the policy of the other state would not be advanced by the

   application of its laws.'" Tune v. Philip Morris, Inc., 766 So.2d 350 (Fla. 2d DCA 2000).

   Defendant has shown that Dominican Republic will allow for a lawsuit and damages to be

   awarded in much the same way Florida law allows. Therefore, a "false conflict" exists and the

   application of Dominican law is not a factor in favor of dismissal. 3




   3
    If the Court finds that Dominican law may apply then an evidentiary hearing would be necessary to determine what
   Dominican law is. For the purposes of an fnc analysis a choice of law analysis is not necessary. Courts in the
   Southern District have routinely applied foreign law.

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   C. Public Interest Factors Weigh Heavily Against Dismissal

          If the Court finds that the balance of private factors is in equipoise or near equipoise, then

   it must determine whether or not factors of public interest tip the balance in favor of a trial in a

   foreign forum. Wilson, 590 F.3d 1271-72. The Eleventh Circuit has clarified that while Aprivate

   factors are generally considered more important@ courts should consider both public and private

   factors Ain all cases.@ Leon v. Millon Air, Inc., 251 F.3d 1305, 1311 (11th Cir. 2001).

          Public interest factors include: a) court congestion and jury duty generated by

   controversies having no relation to the forum; b) the desirability of having localized

   controversies decided at home; and c) the difficulties attendant in resolving conflict of law

   problems and applying foreign law. See Ward v. Kerzner International Ltd., et. al, 2005 WL

   2456191 at *4, citing La Seguridad, 707 So.2d at 1307.

          The instant action is between a U.S. citizen and U.S. corporation who is doing extensive

   business here, in Florida, the United States and abroad, therefore the United States and Florida

   both have interests in the litigation. See SME Racks, 382 F.3d at 1104; and Ward, 2005 WL

   2456191 at *5 (citing Sun Trust v. Sun Int=l Hotels Ltd., 184 F. Supp.2d 1246, 1266) (A[T]his

   forum has a similar interest in providing United States citizens with a forum in which to seek

   redress for injuries caused by foreign defendants who are subject to U.S. jurisdiction.@) As Judge

   Jordan has stated in Collins:

          This controversy has a relationship to this forum because, as stated above,
          >there is a strong federal interest in making sure that plaintiffs who are United States citizens generally get
          to choose an American forum for bringing suit, rather than having their case relegated to a foreign
          jurisdiction.=SME Racks, 382 F.3d at 1104. At the same time, I recognize that the Bahamas has a stake in
          the efficient resolution of lawsuits involving accidents occurring on its soil. I conclude that this interest
          is outweighed, however, by the interest in providing an American plaintiff an American forum... @

          [Emphasis added]




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          Of importance is the fact that neither party to this lawsuit is Dominican. Also, this

   country and its citizens certainly have a significant interest in determining that resorts such as the

   Hard Rock, take reasonable steps to ensure the safety of their guests. See Ward v. Kerzner Int’l

   Hotels, Ltd. 18 Fla. L. Weekly Fed. D 506 (S.D. Fla. 2005) (Court found that the United States

   has a public interest in a case where the underlying incident occurred at a resort in the Bahamas

   and that resort conducts business in the United States through South Florida offices.)

   D. Inversiones Zahena Is Not An Indispensible Party

          Plaintiff does not concede that Inversiones Zahena is an indispensible party. Defendants

   have not argued the appropriateness of the allegations against Hard Rock, rather they have

   argued that Inversiones Zahena may also be a potential tortfeasor and for this reason the

   Complaint should be dismissed. Plaintiff's theory of liability against Hard Rock is simple: a

   company such as Hard Rock does not just license its name and relinquish all control over the

   resort. In the instant case, Hard Rock surely has guidelines that must be followed by the resort

   and quality control measures to ensure that resorts such as the Hard Rock Punta Cana is being

   operated at a standard commensurate with the Hard Rock brand.               If Hard Rock failed to

   supervise or otherwise maintain the property then they may have liability for their own active

   negligence. Even if Hard Rock was not actively negligent, they can be liable under an agency

   and/or apparent agency theory of liability. Ms. Ortiz did not want to visit the Inversiones

   Zahenas Resort. She visited a Hard Rock Hotel and Casino and relied on that brand name to

   deliver a product on par with the name. In any event, the Complaint is sufficient to maintain an

   action against the Hard Rock. Should Plaintiff obtain and execute a judgment against Hard

   Rock, Defendant is free to pursue Inversiones Zahena in an indemnity action if it so chooses. If

   Defendant is to be believed, the Dominican Republic is an adequate forum to do so.



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          Should Hard Rock wish to implead or join Inversiones Zahena in this action as a third-

   party defendant, it may do so. If it cannot, for reasons related to personal jurisdiction, then Hard

   Rock is free to file suit against Inversiones Zahena in the Dominican Republic if and when a

   judgment is obtained and executed upon here.           Lastly, Defendant's claim that it would be

   prejudiced and not able to defend this lawsuit carries little weight given that they have identified

   witnesses and presumably obtained statements from them concerning what they know with

   respect to this lawsuit. Defendant further states that Plaintiff should have to answer for why it

   did not sue Inversiones Zahena. It is Ms. Ortiz's prerogative as plaintiff to sue the parties she

   sees fit, and in the instant case, there is nothing preventing the full adjudication of this lawsuit by

   not including Inversiones Zahena as a party.

                                             CONCLUSION

          Hard Rock has waived their fnc argument by conducting merit discovery in the form of

   interrogatories and requests for production. As of the filing of this Response, Plaintiff has served

   answers to interrogatories and responses to request for production. Further, Hard Rock has failed

   to carry their burden of showing unusually extreme circumstances or manifest injustice.

   Plaintiff, Maria Ortiz, respectfully requests that the Court deny Defendant's Motion to Dismiss

   pursuant to the doctrine of forum non conveniens and for failure to join an indispensible party.

                                         Respectfully submitted,
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                                        Robert L. Parks
                                        Florida Bar No. 61436

                                        Counsel for the Plaintiff




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing document was filed with the Clerk on

   January 27, 2014 using cm/ecf who will forward copies to all counsel of record.

                                         /s/ Gabriel A. Garay

                                        Gabriel A. Garay

                                        Florida Bar No. 103303




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